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                                   STATEMENT OF FACTS

       Your affiant, Shawn O. Cox, is a Special Agent with the Federal Bureau of Investigation
(“FBI”). I have been in this position since 2018. Previously I was employed as a Police Officer
for 10 years in Virginia. I received initial training and instruction to become a Special Agent at
the FBI Academy located in Quantico, Virginia, which included training concerning violations of
the United States criminal statutes. I am currently assigned to the Richmond Division of the FBI,
Roanoke Resident Agency. During my employment with the FBI, I have conducted and/or assisted
in criminal investigations involving various criminal violations. As a federal agent, I am
authorized to investigate violations of laws of the United States, and as a law enforcement officer
I am authorized to execute warrants issued under the authority of the United States. Currently, I
am tasked with investigating criminal activity in and around the Capitol grounds on January 6,
2021. As a Special Agent I am authorized by law or by a Government agency to engage in or
supervise the prevention, detection, investigation, or prosecution of a violation of federal criminal
laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police and other law enforcement officers, as others
in the crowd encouraged and assisted those acts.

      Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
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Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                         MARKUS MALY IDENTIFIED AS AFO-324

        On a public-facing FBI website designed to seek information about individuals who
participated in the January 6, 2021 riot at the U.S. Capitol, FBI Washington posted photographs
of AFO-324, who was involved in spraying an unknown chemical irritant at a line of police officers
outside of the Capitol Building. A tip from the DC Metropolitan Police advised that the subject
AFO-324 could possibly be MARKUS MALY.




   Image 1 – Photograph of AFO-324 from FBI website (https://www.fbi.gov/wanted/capitol-
                           violence-images/capitol-324a.jpg/view)

        Footage from January 6, 2021, shows AFO-324 wearing a dark colored jacket with a grey
hood or hooded sweatshirt underneath. At times, AFO-324 also wore a black winter hat or
“beanie” and a white cowboy style hat with the words “TRUMP 2020” printed on the front and
what appears to be “TEAM TRUMP” printed on the back, with an American flag pattern printed
on the underside. Online sleuths identified this subject as #JohnSprayne.
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                              Image 2 – Screenshot of AFO-324
   (https://jan6attack.com/individuals/johnsprayne/1aeG4GVOLzeseLYFF_J-Pbh3qQfLSMu6W.png)

AFO-324 carried a black canister that was consistent with what is commonly known as “bear
spray” or pepper spray.

       Below is the same subject, AFO-324, from D.C. Metropolitan Police’s Persons of Interest
in Unrest-Related Offenses posting:
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                Image 3 – Screenshot of AFO-324 from D.C. Metropolitan Police Posting1

        After reviewing the photos and videos of AFO-324 on January 6, 2021, I reviewed known
photographs of MALY from law enforcement databases. After reviewing 1) a 2020 Booking Photo
from Roanoke County, Virginia Sheriff’s Office (Image 4 below); 2) a 2017 Booking Photo from
Virginia (Image 5 below); and 3) a 2008 driver’s license, and comparing them to photographs of
the individual identified by the FBI as AFO-324, the photographs of MALY are consistent with
the individual identified by the FBI as AFO-324.




           Image 4, 2020 Booking Photo                                    Image 5, 2017 Booking Photo

         FURTHER INVESTIGATION CONFIRMING IDENTIFICATION OF MALY

        Based on the tips that had been provided above, law enforcement took additional steps to
identify MALY.

1
    This post was created prior to FBI’s involvement; the time is approximate.
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       Your affiant identified a phone number ending in -6777,2 which is associated with MALY
through phone subscriber records and cross referenced to his email and social media records.
Records obtained pursuant to legal process showed an email associated with the number ending in
-6777 had an associated email of malymaly666@XXXXX.3com and an associated name of
“MARK MALY”. Records received from the email account revealed that the account associated
with malymaly666@XXXXX.com belonged to an email account registered in the name of “Mark
Maly.” The email account also lists a recovery SMS phone number that matches the number ending
in -6777. Pursuant to legal process, law enforcement learned that the person carrying the phone
ending in -6777 was identified as having utilized a cell site consistent with providing service to a
geographic area that included the interior of the United States Capitol Building.

      REVIEW OF VIDEO FOOTAGE CAPTURING ASSAULTS AT U.S. CAPITOL

                                     MALY Spraying at Law Enforcement

       A review of photos and videos around the Capitol show MALY holding the canister of
pepper spray near a line of police officers. MALY then sprays the canister at the police officers.
MALY sprayed towards a D.C. Metropolitan Police Officer, Officer Victim 1, as seen on body
camera footage.

        This image below is taken from a video from the body camera of MPD Officer Victim 1.
In the video, MALY can be seen moving about the crowd and displaying a black spray can towards
the officers present. The image below, taken from the video at 42 minutes and 3 seconds into the
video, shows MALY in the right side of the image pointing a spray can directly at the officers at
approximately 14:35:44 (2:35:44 p.m.) as displayed on the time stamp of the body camera video.




2
  Your affiant is in possession of a full phone number, but uses the last four digits here due to the public nature of
this filing.
3
  Your affiant is in possession of a full email address, but partially anonymized it here due to the public nature of
this filing.
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                            Image 6 – Screenshot from Body Camera

        The below images 7 and 8 are from the same body camera footage and shows MALY
holding the spray can pointing it directly at the police officers at approximately 14:35:47 (2:35:47
p.m.) as displayed on the time stamp of the body camera video.




                            Image 7 – Screenshot from Body Camera
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                          Image 8 – Screenshot from Body Camera

        The below image 9 is from the same body camera footage that shows chemical spray that
was just sprayed on MPD Officer Victim 1’s shield at approximately 14:35:49 (2:35:49 p.m.) as
displayed on the time stamp of the body camera video. This image depicts what occurred
approximately two seconds after the above image capturing MALY pointing the spray directly at
the police officers.
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         The below images (10-13) are screenshots from a video on “theresistance.video” and shows
a different angle where MALY pointed and appeared to spray presumed chemical spray at law
enforcement officers on the Lower West Terrace of the Capitol on January 06, 2021 at time stamp
49:16. The video originally appeared at:
https://theresistance.video/watch?id=5ff73a601669d333f2b27315




                         Image 10 – Screenshot from Resistance Video




                         Image 11 – Screenshot from Resistance Video
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                              Screenshots from Resistance Video
                            Image 12                    Image 13

  MALY Aiding and Abetting Defendant Jeffrey Brown (21-cr-178) to Spray Law Enforcement

        On January 6, 2021, between approximately 15:09 p.m. and 15:16 p.m., a man who
matches MALY’s description appeared on U.S. Capitol CCTV footage in the Lower West Terrace
Tunnel. The Lower West Terrace Door is an outdoor area on the west side of the U.S. Capitol
Building. On January 6, 2021, all parts of the Lower West Terrace were considered “restricted
grounds” and were not accessible to the public. The Lower West Terrace Door led into the U.S.
Capitol Building through a tunnel. Between approximately 15:09 p.m. and 15:16 p.m., the Lower
West Terrace Door was heavily guarded by U.S. Capitol Police and MPD personnel, who had
formed a defensive line to prevent unauthorized access into the U.S. Capitol Building via the
tunnel.

        The below image, taken from 3 minutes and 30 seconds into the video, shows MALY near
the center of the frame in a white cowboy hat, with “Trump 2020” written on the front of the hat,
at the entrance of the tunnel:
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                                 Image 14 – CCTV Screenshot

         The below image, taken from the same video at 4 minutes and 51 seconds, shows MALY
in the left center of the image handing a black spray can to indicted Defendant Jeffrey Brown’s
outstretched hand:



                             Can of spray BROWN




                                 Image 15 – CCTV Screenshot
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                                   MALY Possessing Shield

        The below image, taken from the same video at 9 minutes and 49 seconds, shows MALY
in center of the image, exiting the tunnel with what appears to be a Police riot shield.




                                                                      Shield




                                 Image 16 – CCTV Screenshot

         The below image taken from “Just Another Channel”, was submitted as a public tip to the
FBI and is from the same video which originally appeared at:
https://theresistance.video/watch?id=5ff73a601669d333f2b27315
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    In this image, MALY is seen exiting the tunnel at the Lower West Terrace of the Capitol, with
                     what appears to be the same Police riot shield seen above.




                                                  Shield                      Maly




              Image 17 –Screenshot of Resistance video found at Just Another Channel

                      SOCIAL MEDIA AND ELECTRONIC EVIDENCE

       Pursuant to legal process, your affiant reviewed the Facebook account for the username
“Mark Maly,” believed to be MALY’s Facebook account. The Facebook account used the same
email and phone number associated with MALY and described above.

       A review of the above Facebook account showed communications and posts about
MALY’s attendance at the Capitol on January 6, 2021. On January 7, 2021, he commented on a
posting and stated in part “There were lots of pissed off patrios there and we wanted our voices to
be heard. I myself one [sic] of them. We were there to support President Trump and the voting
process. A voting process that was hijacked and stolen from us.”

        On January 7, 2021 he also engaged in conversation with one of his contacts (Contact 1)4.
MALY wrote “No I didn’t go inside. I did have a riot shield but half way back to the bus a cop
say [sic] me and took it from me . . .” Contact 1 responded with “Should have stood your ground
with it.” MALY replied “I stood my ground and went back for seconds and thirds even.”




4
 The government knows the identity of the contact, but the name is not stated here due to the
public nature of this filing
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        The Facebook account also included conversations between MALY and someone believed
to be his girlfriend on or about January 6, 2021. On January 6, 2021 at approximately 16:16 EST,
his girlfiend mentioned individuals breaking through Capitol barricades; Maly responded with
“We took the fuckin capital…” At approximately 16:32 EST, Maly messaged his girflriend in
response to her concern about violence at the Capitol, and wrote “I know… I’ve got stories
though,” and “I was so fun…”, “It..”

       MALY posted multiple photos and videos that appear from be from January 6, 2021 at the
Capitol, including a selfie-style photograph that he shared on January 19, 2021. As seen below,
he is wearing clothing consistent with the above subject identified as MALY at the Capitol
Building on January 6, 2021.




                               Image 16 – Photo from Maly’s Facebook

       A review of the Google account associated with malymaly666@XXXXX.com revealed
photographs and video of a subject identified as MALY at the Capitol Building on January 6, 2021.

     LAW ENFORCEMENT IN PERSON IDENTIFICATION OF MARKUS MALY

         Your Affiant showed the below images to Officer Dakota Kidd, Roanoke County Police
Department (RCPD). Officer Kidd was asked if he recognized the subject as MARKUS MALY
from a previous in person law enforcement encounter with MALY. Officer Kidd reviewed the
RCPD file detailing the encounter with MALY. Officer Kidd remembered that he “served
papers” on MALY in February 2020 for a charge of failure to appear. Officer KIDD stated
MALY had longer hair when he encountered him, but he recognized the subject pictured below
as being MALY from the aforementioned law encorcment encounter. The below image is from
https://jan6attack.com/individuals/johnsprayne/1x0BshB-Uq_bubdvT0lEFQ9vht5ChudBS.jpeg
which is a cropped picture of Image 3 – Screenshot of AFO-324 from D.C. Metropolitan Police
Posting.
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Image 17- cropped version of Image 3 – Screenshot of AFO-324 from D.C. Metropolitan Police
                                          Posting




        Based on the foregoing, your Affiant submits that there is probable cause to believe that
MARKUS MALY violated 18 U.S.C. § 111(a)(1) and (b), which makes it a crime to forcibly
assault or interfere with any person designated in section 18 U.S.C. § 1114 as an officer or
employee of the United States while engaged in or on account of the performance of official duties.
Persons designated within section 1114 include any person assisting an officer or employee of the
United States in the performance of their official duties. Subsection (b) includes an enhancement
for violating this provision while using a deadly or dangerous weapon.

        Your Affiant submits that there is probable cause to believe that MARKUS MALY violated
18 U.S.C. § 231(a)(3), which makes it unlawful to commit or attempt to commit any act to obstruct,
impede, or interfere with any fireman or law enforcement officer lawfully engaged in the lawful
performance of his official duties incident to and during the commission of a civil disorder which
in any way or degree obstructs, delays, or adversely affects commerce or the movement of any
article or commodity in commerce or the conduct or performance of any federally protected
function. For purposes of Section 231 of Title 18, a federally protected function means any
function, operation, or action carried out, under the laws of the United States, by any department,
agency, or instrumentality of the United States or by an officer or employee thereof. This includes
the Joint Session of Congress where the Senate and House count Electoral College votes.

        Your Affiant submits there is also probable cause to believe that MARKUS MALY
violated 18 U.S.C. § 1752(a)(1), (2) and (4), which makes it a crime to (1) knowingly enter or
remain in any restricted building or grounds without lawful authority to do; and (2) knowingly,
and with intent to impede or disrupt the orderly conduct of Government business or official
functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
of Government business or official functions; (4) knowingly engages in any act of physical
violence against any person or property in any restricted building or grounds; or attempts or
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conspires to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a
posted, cordoned off, or otherwise restricted area of a building or grounds where the President or
other person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Your Affiant submits there is also probable cause to believe that MARKUS MALY
violated 40 U.S.C. § 5104(e)(2)(D), (E), & (F), which makes it a crime to willfully and knowingly;
(D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at
any place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or
disturb the orderly conduct of a session of Congress or either House of Congress, or the orderly
conduct in that building of a hearing before, or any deliberations of, a committee of Congress or
either House of Congress; (E) obstruct, or impede passage through or within, the Grounds or any
of the Capitol Buildings; and (F) engage in an act of physical violence in the Grounds or any of
the Capitol Buildings.

        Finally, your affiant submits there is probable cause to believe that MARKUS MALY
violated 18 U.S.C. § 1512(c)(2), which makes it a crime to obstruct, influence, or impede any
official proceeding, or attempt to do so. Under 18 U.S.C. § 1515, congressional proceedings are
official proceedings.


                                                      _________________________________
                                                      Shawn O. Cox
                                                      Special Agent
                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 13th day of January 2022.
                                                                         G. Michael
                                                                         Harvey
                                                      ___________________________________
                                                      Michael G. Harvey
                                                      U.S. MAGISTRATE JUDGE
